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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                  8:06CR19
       vs.                                      )
                                                )                  ORDER
HECTOR BARRIENTOS,                              )              CONTINUING TRIAL
JOSE ALVAREZ-CORIA,                             )
JUAN VARGAS and                                 )
LETICIA BARRIENTOS,                             )
                                                )
                     Defendants.                )

       This matter is before the court on the motion of Leticia Barrientos to continue trial
[48]. For good cause shown, trial will be continued to June 6, 2006. Leticia Barrientos will
be required to file a speedy trial waiver pursuant to NECrimR 12.1 no later than May 4,
2006.

       IT IS ORDERED that the motion to continue trial [48] is granted, as follows:

       1. Trial of this matter is continued from May 16, 2006 to June 6, 2006 before Judge
Laurie Smith Camp and a jury, as to all defendants.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between May 16, 2006 and June 6,
2006, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reasons stated in the motion, and considering the diligence
of counsel. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

      3. Counsel for the United States shall confer with defense counsel and, no later
than June 1, 2006, advise the court of the anticipated length of trial.

        4. Leticia Barrientos shall file a speedy trial waiver pursuant to NECrimR 12.1 no
later than May 4, 2006.

       DATED April 25, 2006.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
